                               UNITED STATES DEPARTMENT OF JUSTICE
                               OFFICE OF THE UNITED STATES TRUSTEE
                                       DISTRICT OF DELAWARE

IN THE MATTER OF:                                :          Chapter 11
                                                 :
                                                 :
BIG LOTS, INC., et al.,                          :          Case No. 24-11967 (JKS)
                                                 :
                                                 :
          Debtors.                               :          341 Meeting: October 16, 2024 at 10:00 a.m. ET
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                           NOTICE OF TELEPHONIC SECTION 341 MEETING

        PLEASE TAKE NOTICE that the meeting of creditors pursuant to 11 U.S.C. §§ 341 and 343 (the
“section 341 meeting”) in these cases, scheduled for October 16, 2024, at 10:00 a.m. (ET) will be held
telephonically. Parties wishing to participate in the section 341 meeting should call into the conference line
in advance of the meeting.

        If you are receiving this notice, you have been identified as a party who may be a creditor, i.e.
someone who may be owed money by the Debtor. Creditors will receive subsequent notice regarding any
deadline for submitting a claim for monies owed, as well as the procedures for doing so. YOUR
TELEPHONIC PARTICIPATION IN THE SECTION 341 MEETING IS NOT REQUIRED, IS
COMPLETELY OPTIONAL, AND FAILURE TO ATTEND WILL NOT AFFECT YOUR
ELIGIBILITY TO FILE A CLAIM LATER. The purpose of the Section 341 meeting is to provide
creditors and parties in interest an opportunity to examine the Debtor’s financial affairs. It is not the purpose
of the Section 341 meeting to address the specific circumstances of each creditor.

       PLEASE FOLLOW the instructions below to ensure a smooth and efficient telephonic section 341
meeting of creditors.

    •    If you have a choice, use a landline phone, instead of a cell phone.
    •    Dial the call-in number, 1-888-455-8838, and then enter the passcode, 6432292, followed by a #
         sign.
    •    Make the call from a quiet area where there is as little background noise as possible.
    •    Mute your phone and do not speak until the U.S. Trustee counsel asks you to identify yourself, or
         indicates you may pose questions. You will still be able to listen even when your phone is muted.
    •    Unmute your phone when speaking.
    •    When speaking, identify yourself.
    •    Do not put the phone on hold at any time after the call is connected.
    •    Once the meeting of creditors is finished, please hang up.
    •    If you become disconnected before the meeting is finished, please call back.
    •    The section 341 meeting of creditors will be recorded by the U.S. Trustee. Any other recordings
         are prohibited.


                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE, REGIONS 3 AND 9

Dated: September 23, 2024
